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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

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                                              )
CARL A. BARNES, et al.,                       )
                                              )
                       Plaintiffs,            )
                                              )      Case Number: 06-315 (RCL)
               v.                             )
                                              )
DISTRICT OF COLUMBIA,                         )
                                              )
                       Defendant.             )
____________________________________)

DEFENDANT DISTRICT OF COLUMBIA'S OPPOSITION TO PLAINTIFFS’ MOTION
  TO COMPEL PRODUCTION OF DATA FROM CERTAIN JACCS FIELDS AND
  RELATED DOCUMENTATION REQUESTED IN PLAINTIFFS’ 4TH DOCUMENT
                      PRODUCTION REQUESTS

       Defendant District of Columbia (“the District”), by and through counsel, opposes

Plaintiffs’ outstanding motion to compel production of documents requested in Plaintiffs’ Fourth

Document Request [Docket No. 86].

       The Plaintiffs’ Fourth Document Request seeks the production of the following

documents: (1) the JACCS Data Dictionary; (2) a JACCS data production; (3) Code Tables; (4)

the Offenders Management System Manual; (5) the JACCS Data Entry Responsibilities Matrix;

(6a) documents describing officers’ practices/procedures regarding the commitment and release

processes for court ordered releases; and (6b) documents describing the procedures that include

the term “strip search” or “body cavity search.” In the initial response, the District produced the

Offenders Management System Manual (Request No. 4), noted that it did not have any

documents in response to 6a, and directed Plaintiffs to documents already produced in response

to 6b. The District withheld the rest based on a variety of objections.
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       In the interim, Plaintiffs’ counsel utilized the JACCS Data Dictionary (Request No. 1)

and the JACCS Data Entry Responsibilities Matrix (Request No. 5) in the deposition of Lee

Gazley, a District witness. Upon review, these two documents, along with the Code Tables

(Request No. 3), had already been provided during informal discovery, a fact known to Plaintiffs

when they filed their Motion to Compel. Thus, the only outstanding document is the JACCS

data (Request No. 2).

       In the Plaintiffs’ Opposition [filed under seal at Docket No. 89] to the District’s Motion

for Protective Order as to Plaintiffs’ Sixth Request for Production of Documents, Plaintiffs

concede that “JACCS data cannot be relied upon to identify over detentions.” See Opp. at 7.

Accordingly, Plaintiffs have acknowledged that JACCS data cannot be utilized on the key

question in this phase of discovery, i.e., whether there is liability. Contrary to the position taken

in their Opposition, Plaintiffs assert here that JACCS data is needed in the “process of

calculating the number of over detentions.” See Motion at 1. Plaintiffs are certainly free to take

a position on the use of JACCS data, but taking contrary positions at the same time is

impermissible. Cf. Mason v. United States, 956 A2d 63, 66 (D.C. 2008) (noting that judicial

estoppel “generally prevents a party from prevailing in one phase of a case on an argument and

then relying on a contradictory argument to prevail in another phase”) (citing New Hampshire v.

Maine, 532 U.S. 742, 749 (2001)). Further, to the extent JACCS data can or should be used to

“verify specific practices or processes used by the DOC” (see Motion at 2), Plaintiffs have

previously received updated JACCS data in informal discovery and at the beginning of formal

discovery. Thus, an additional production of JACCS data is cumulative, not to mention

irrelevant, unnecessary, and not reasonably calculated to lead to the discovery of admissible

evidence.




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         Despite these facts, the District has determined that the production of JACCS data itself

is a limited burden. Further, the District has pending a Motion for Protection Order in which the

parties address the use of JACCS data and its relationship with the use of inmate files. Without

additional guidance from the Court on these issues at this time, the JACCS data requested by

Plaintiffs was produced on March 9, 2010. The District requested that Plaintiffs withdraw their

motion to compel to avoid the need for judicial intervention or waste of judicial resources.1 To

date, there has been no withdrawal. Therefore, the District is forced to oppose the motion to

compel out of an abundance of caution and to avoid the fees, expense, and any potential negative

sanction.

                                                 CONCLUSION

         For the foregoing reasons, this Court should deny Plaintiffs’ motion to compel.

FILED: March 12, 2010                                  Respectfully submitted,

                                                       PETER NICKLES
                                                       Attorney General for the
                                                       District of Columbia

                                                       GEORGE C. VALENTINE
                                                       Deputy Attorney General
                                                       Civil Litigation Division

                                                       ELLEN EFROS [250746]
                                                       Chief, Equity I

                                                       /s/ Grace Graham
                                                       GRACE GRAHAM [472878]
                                                       Assistant Attorney General, DC
                                                       Equity 1 Section
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          This request was made via email from District counsel, Grace Graham, to Plaintiffs’ counsel, William
Claiborne, on March 8, 2010. In an email dated March 11, 2010, Plaintiffs’ counsel, William Claiborne, asserted
that the JACCS data is “not what we asked for and the disc does not have data from all the tables and fields we
asked for, so we will not withdraw the motion.” However, Plaintiffs fail to identify exactly what is supposedly
lacking from the information provided. If the Plaintiffs can identify their concerns with particularity, the District
will respond accordingly. Until such time, the District maintains that the JACCS data that was produced is
responsive to the request.


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                           UNITED STATES DISTRICT COURT
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                                             )       Case Number: 06-315 (RCL)
               v.                            )
                                             )
DISTRICT OF COLUMBIA,                        )
                                             )
                      Defendant.             )
____________________________________)

                                            ORDER

       Upon consideration of Plaintiffs’ Motion to Compel Production of Data from Certain

JACCS Fields and Related Documentation Requested in Plaintiffs’ 4th Document Production

Requests, Defendants’ Opposition thereto, and the entire record herein, it is this ______ day of

___________________, 2010, for the reasons stated by Defendant in its opposition,

       ORDERED that the motion be DENIED.



                                                            __________________________
                                                            Royce C. Lamberth
                                                            United States District Judge




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